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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW MEXICO

                  Before the Honorable Gregory B. Wormuth
                    Chief United States Magistrate Judge

                                   Clerk’s Minutes

                                22-cv-646 KWR/GBW

                       Bender v. Allstate Indemnity Company

                           Date of Hearing: 10/27/2022
                                   (not recorded)

Attorney for Plaintiff:                  Todd Bullion

Attorneys for Defendant:                 Jennifer Noya




Proceedings:                             Rule 16 Scheduling Conference

         Start Time:                     2:58 p.m.
         Stop Time:                      3:10 p.m.
         Total Time:                     12 minutes

Clerk:                                   EMM

Notes:

         •   The Court made introductions.
         •   The Court noted that the parties had requested an early mediation and asked
             them how soon they would be ready for a settlement conference and how
             long they expected the settlement conference to take.
         •   Ms. Noya opined that the parties would be ready for a settlement conference
             in November and that a three-hour time slot would work.
         •   Mr. Bullion concurred.
         •   The Court asked the parties whether they preferred a remote or in-person
             format for the settlement conference.
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 •   The parties preferred a remote format.
 •   Upon confirming Mr. Bullion’s and Ms. Noya’s availability, the Court stated
     that it would set a settlement conference on November 21, 2022, at 1:30 p.m.
     via Zoom. The Court informed the parties that it will hold its Order Setting
     Settlement Conference through October 31, 2022, to enable them to confirm
     their clients’ or client representatives’ availability. If the parties discover a
     conflict, they should inform the Court by sending an email with all parties
     on carbon copy to wormuthproposedtext@nmd.uscourts.gov and indicate
     alternative dates of availability.
 •   The Court turned to setting discovery deadlines, noting the parties’ proposal
     to have these dates hinge off the date of an early mediation.
 •   The parties informed the Court that they would prefer to defer setting
     discovery deadlines until after the early mediation, if it is not successful.
 •   The Court agreed and suggested also deferring setting discovery limitations
     until after the settlement conference, if necessary.
 •   The parties agreed with the Court’s suggestion.
 •   The Court asked the parties if there was anything else to address.
 •   There being nothing further to address, the Court concluded proceedings.




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